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                                   IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF OREGON
                                            PORTLAND DIVISION

             KELLY CAHILL, et al., individually and           Case No. 3:18-cv-01477-AB
             on behalf of others similarly situated,
                                                              NOTICE OF SETTLEMENT OF
                                                Plaintiffs,   INDIVIDUAL CLAIMS

             vs.

             NIKE, INC., an Oregon Corporation,

                                              Defendant.




921474.3


            NOTICE OF SETTLEMENT OF INDIVIDUAL CLAIMS
                    In response to the Court’s directions set forth by ECF No. 620, Plaintiffs Kelly Cahill,

           Heather Hender, Lindsay Elizabeth, and Sara Johnston (“Plaintiffs”) and Defendant Nike, Inc.

           (“Nike”) (collectively the “Parties”) through their respective counsel hereby confirm that they

           have finalized settlement agreements related to the Plaintiffs’ individual claims, which the

           Parties expect to be signed today. Plaintiffs Cahill, Elizabeth and Johnston have resolved all

           their claims against Nike. Plaintiff Hender has resolved her individual retaliation and other non-

           class claims against Nike but retains her class claims so that she may participate in the proposed

           class settlement and seek appointment to serve as a class representative of the proposed

           settlement class. 1 However, Plaintiff Hender intends to settle those claims as part of the class

           settlement and does not wish to move forward with trial of her individual claims. As previously

           ordered, the Parties will provide a status report by April 11, 2025 on the status of the class

           claims, and Plaintiffs anticipate moving for preliminary approval of the proposed class

           settlement by that date or shortly thereafter.

                    In light of the foregoing, the Parties ask the Court to take any remaining pre-trial

           deadlines as well as the March 2025 trial off-calendar.

                Dated: February 21, 2025                Respectfully submitted,

                                                        GOLDSTEIN, BORGEN, DARDARIAN & HO

                                                         /s/ James Kan
                                                        Laura L. Ho (admitted pro hac vice)
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                                                        Katharine L. Fisher (admitted pro hac vice)



           1
             These individual settlements on behalf of the four plaintiffs are not dependent or conditioned
           upon the Court’s approval of any proposed class settlement. The Parties agreed to the
           settlement, in principle, that formed the basis for the individual settlements separate and apart
           from any settlement on behalf of a putative class.

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               PARTIES’ JOINT STIP. & [PROPOSED] ORDER REQUESTING A ONE WEEK EXTENSION TO FILE
               A STATUS REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
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            Dated: February 21, 2025         Respectfully submitted,

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           PARTIES’ JOINT STIP. & [PROPOSED] ORDER REQUESTING A ONE WEEK EXTENSION TO FILE
           A STATUS REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
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                                           SIGNATURE ATTESTATION

                  In accordance with Civil Local Rule 11(b)(2), I attest that concurrence in the filing of this

           document has been obtained from the signatories on this e-filed document.



             Dated: February 21, 2025                 Respectfully submitted,


                                                      /s/ James Kan
                                                      James Kan




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           PARTIES’ JOINT STIP. & [PROPOSED] ORDER REQUESTING A ONE WEEK EXTENSION TO FILE
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